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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


  MARTY STOUFFER and                                     )
  MARTY STOUFFER PRODUCTIONS, LTD;                       )
                                                         )
               Plaintiffs,                               )
                                                         )
  v.                                                     )    CASE NO. 1:18-cv-03127-WJM-GPG
                                                         )
  NATIONAL GEOGRAPHIC PARTNERS, LLC;                     )
  NGSP, INC.;                                            )
  NGHT, LLC, d/b/a NATIONAL GEOGRAPHIC                   )
   DIGITAL MEDIA;                                        )
  NGC NETWORK US, LLC; and                               )
  NGC NETWORK INTERNATIONAL, LLC;                        )
                                                         )
                Defendants.                              )
                                                         )
                                                         )


                          NGC NETWORK US, LLC’S AMENDED
                         CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant NGC Network US, LLC

  hereby amends its prior Corporate Disclosure Statement (Dkt. 27) and states that it is a

  subsidiary of co-defendant National Geographic Partners, LLC (“NGP”).

         1. Defendant NGP is a Washington, D.C. based Limited Liability Company that is

            partially owned (73%) by Twenty-First Century Fox, Inc., a Delaware corporation

            with its principal place of business in New York, New York, and (27%) by National

            Geographic Society, a Washington, D.C. 501(c)(3) not-for-profit corporation, with its

            principal place of business in Washington, D.C.

         2. Twenty-First Century Fox, Inc. is a wholly-owned subsidiary of The Walt Disney

            Company, a publicly traded company.
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   Dated: May 3, 2019            Respectfully submitted,

                                 /s/ Mary Grace Gallagher
                                 Jason D. Rosenberg
                                 (Ga. Bar No. 510855)
                                 Mary Grace Gallagher
                                 (Ga. Bar No. 121954)
                                 Members of the U.S. District Court for the District of
                                 Colorado Bar

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                                 Attorney for Defendants National Geographic
                                 Partners, LLC, NGSP, Inc., NGHT, LLC, NGC
                                 Network US, LLC, and NGC Network International,
                                 LLC.




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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document has

  been served on May 3, 2019, to all counsel of record who are deemed to have consented to

  electronic service via the Court’s CM/ECF system.


                                             /s/ Mary Grace Gallagher
                                             Mary Grace Gallagher




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